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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE


RYAN D. BURNETT,                      )
                                      )
            Plaintiff,                )
                                      )
      v.                              )      2:16-cv-00359-JAW
                                      )
OCEAN PROPERTIES, LTD.                )
and AMERIPORT, LLC,                   )
                                      )
            Defendant.                )


       ORDER ON MOTION IN LIMINE TO EXCLUDE EVIDENCE OF
                     MONETARY DAMAGES

      With a jury selected and trial looming in this Americans with Disabilities Act

(ADA) lawsuit, Ocean Properties Ltd. and Ameriport, LLC (Ocean Properties) have

moved in limine to prohibit Ryan Burnett from introducing any evidence regarding

any damages other than injunctive relief, arguing that such evidence is not relevant

and is inadmissible under Federal Rule of Evidence 402.

I.    THE PARTIES’ POSITIONS

      A.    Defendants’ Motion

      Ocean Properties seeks to preclude Ryan Burnett from offering any evidence

or argument before the jury that Ocean Properties is liable for damages other than

injunctive relief, because in its view, Mr. Burnett failed to exhaust administrative

remedies on this issue. Defs.’ Mot. in Limine to Exclude Evidence and/or an Award

of Damages or Relief Other than Injunctive Relief at 2 (ECF No. 106) (Defs.’ Mot.).
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According to Ocean Properties, evidence regarding damages other than injunctive

relief is not relevant, and should be excluded under Federal Rule of Evidence 402.

       The remaining claim relates to Ocean Properties’ alleged failure to

accommodate Mr. Burnett’s August 28, 2014 request for automatic or “push-button”

access to his workplace at the golf club location. Ocean Properties argues that Mr.

Burnett “never raised this discrete act in the charge of discrimination he filed on June

29, 2015, and thus he is precluded from recovering anything other than injunctive

relief on his claim.” Id. Ocean Properties asserts that this Court determined in its

order on the Defendant’s motion for summary judgment that the Plaintiff’s second

request related to the doors was not time-barred because:

       The failure to respond to the second request is an independent discrete
       act which occurred within the 300-day window because there is no
       evidence that Mr. Burnett knew or reasonably should have known that
       AmeriPort was unlikely to grant the request within the five days that
       elapsed between the date of his second request and the start of the 300-
       day window.

Defs.’ Mot at 3 (citing Order on Defs.’ Mot. for Summ. J. at 64) (ECF No. 81) (Summ.

J. Order)). Ocean Properties contends that Mr. Burnett did not specifically address

his August 28, 2014 request in his EEOC Charge of Discrimination. Defs.’ Mot. at 4.

According to Ocean Properties, because the act was not time-barred, and not

subsequently mentioned in his EEOC charge, Mr. Burnett failed to exhaust his

administrative remedies, and may not recover damages other than injunctive relief.

Id. at 5.

       B.    Ryan Burnett’s Response




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      Mr. Burnett opposes the motion, and contests Ocean Properties’ assertion that

he did not raise the wooden door issue with adequate specificity in his EEOC Charge

of Discrimination. Pl.’s Resp. in Opp’n to Mot. in Limine to Exclude Evidence and/or

an Award of Damages or Relief Other than Injunctive Relief at 1 (ECF No. 117) (Pl.’s

Resp.). He points to the Court’s denial of Ocean Properties’ motion to dismiss on

failure to exhaust administrative remedies. Id. (citing Order Dismissing Mot. to

Dismiss for Lack of Jurisdiction (ECF No. 37) (Mot. to Dismiss Order). Mr. Burnett

also states that the Court specifically found in its order on the Defendant’s motion for

summary judgment that “Mr. Burnett discussed the heavy wooden doors in his

Charge on June 29, 2015.” Id. (citing Summ. J. Order at 64).

II.    DISCUSSION

      The parties each contend that the Court already decided in their favor as to

whether Mr. Burnett failed to exhaust administrative remedies with regard to the

issue of the wooden door. The Court disagrees. The parties misconstrue the Court’s

previous orders on Ocean Properties’ motions to dismiss and for summary judgment.

      In its motion to dismiss, Ocean Properties asserted that Mr. Burnett’s claims

should be dismissed because he failed to name Ocean Properties in his EEOC Charge

and because he failed to file a civil complaint against AmeriPort within ninety days

of receiving a notice of right to sue letter. Mot. to Dismiss Order at 15. The Court

rejected these bases for dismissal, but this part of the Court’s order had nothing to do

with the exhaustion of remedies issue that forms the basis of Ocean Properties’

motion in limine.



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       In its motion to dismiss, Ocean Properties also moved to strike a number of

allegations in Mr. Burnett’s Amended Complaint on the ground that they fell outside

the scope of his EEOC Charge.       Mot. to Dismiss at 11-14.     Specifically, Ocean

Properties sought to strike “paragraphs 19 through 40 and 66 to 67 of the Complaint”

because in Ocean Properties’ view, these allegations “constitute separate acts of

alleged discrimination that were not timely alleged with the MHRC prior to bringing

this suit.” Id. at 14. But Mr. Burnett’s allegations about the wooden doors at the golf

club office are found in paragraphs 56 through 60 of the Amended Complaint and

therefore were not the subject of either Ocean Properties’ motion to dismiss or the

Court’s order on the motion to dismiss. Am. Compl. ¶¶ 56-60 (ECF No. 7).

       Nor did the Court decide the issue in its order on Ocean Properties’ motion for

summary judgment.      Based on the record before it, the Court determined Mr.

Burnett’s second complaint to be “an independent discrete act which occurred within

the 300-day window” that was not time-barred, but it did not determine whether he

failed to exhaust his administrative remedies on that issue. Summ. J. Order at 64.

Ocean Properties did not move for summary judgment on that basis. See Defs.’ Mem.

of Law in Support of Mot. for Summ. J. at 1-20 (ECF No. 68). In any event, when

ruling on a motion for summary judgment, the Court does not act as a fact-finder and

therefore, it did not find as a fact that Mr. Burnett did or did not raise the wooden

door issue during his EEOC complaint, only that the record that the parties presented

would allow that conclusion. Id.

III.   CONCLUSION



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      The Court DENIES Defendants’ Motion in Limine to Exclude Evidence and/or

Award of Damages or Relief Other than Injunctive Relief (ECF No. 106).

      SO ORDERED.

                                       /s/ John A. Woodcock, Jr.
                                       JOHN A. WOODCOCK, JR.
                                       UNITED STATES DISTRICT JUDGE

Dated this 22nd day of October, 2018




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